  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 1 of 14 PageID #:318




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division



 Jane Doe,                                           Civil Action No.: 1:21-cv-00579

                 Plaintiff                           Judge Gary S. Feinerman

 v.

 US Fertility, et al.,

                  Defendant.



       PROPOSED INTERVENORS’ MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION TO INTERVENE AND TRANSFER
        The undersigned attorneys represent Alec Vinsant, Marla Vinsant, Jane Doe 1, Lisa Cox,

Nikitia Hollingsworth Forest, Doris Matthew, Jane Doe, Paul Porta, Kelly Jacobs, Heidi

Schneider, Laura Petersen, Riley Fadness, Tiffany Hitaffer, Karen Logan, Raynard Stuckey,

Samantha Stuckey, Britt Decker, Anne Strickland, Cristielly Santana, and Patrisia Vela

(collectively, “Proposed Intervenors”), and were named co-lead Interim Class Counsel in the

consolidated class action styled as In re US Fertility, LLC Data Security Litigation, Master File

No. 8:21-cv-299 (D. Md.) (the “Multistate Consolidated Class Action”). As with the instant action,

the Multistate Consolidated Class Action arises out of the data breach of US Fertility, LLC’s

(“USF’s”) computer networks from at least August 12, 2020 to September 14, 2020 that led to the

unauthorized access and exfiltration by hackers of Plaintiffs’ and the putative class’ sensitive

personal identifying information (“PII”), including patients’ names, dates of birth, addresses,

Social Security numbers, health insurance information, financial account information, and

sensitive medical records.


                                                1
    Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 2 of 14 PageID #:319




       The Multistate Consolidated Class Action now consolidates ten putative class actions—

two of which were filed before the instant action—against USF and its affiliates. In the Multistate

Consolidated Class Action, twenty named plaintiffs bring causes of action on behalf of themselves,

a nationwide class, and twelve state subclasses, including an Illinois subclass. 1 “[W]hen faced with

two identical or nearly identical cases, ‘the first case should be allowed to proceed and the second

should be abated.’” Humphrey v. United Healthcare Servs., Inc., Case No. 14 C 1157, 2014 WL

3511498, at *2 (N.D. Ill. July 16, 2014) (quoting Asset Allocation & Mgmt. Co. v. W. Emp’rs Ins.

Co., 892 F.2d 566, 573 (7th Cir. 1989)). Because efficient judicial administration, the convenience

of the parties and witnesses, and the interests of justice weigh in favor of resolving these materially

identical suits in Maryland, Proposed Intervenors move pursuant to Federal Rule of Civil

Procedure 24(b) to intervene in this action for the limited purpose of seeking a transfer of this

instant action pursuant to 28 U.S.C. § 1404(a) and the first-filed rule to the U.S. District Court for

the District of Maryland.

       I.      The Multistate Consolidated Class Action

       USF is one of the largest back-office support services networks for fertility clinics in the

United States. From at least August 12, 2020 to September 14, 2020, hackers were able to infiltrate

its computer networks and gain unauthorized access to the extremely sensitive personal identifying

information USF was required to safeguard, including patients’ names, dates of birth, contact

information, Social Security numbers, health insurance and claims information, financial account

information, and sensitive medical records. USF began giving notice of the data breach in

November 2020.




1
 Plaintiffs also bring claims on behalf of California, Florida, Idaho, Kansas, Maryland, Nevada,
North Carolina, South Carolina, Texas, Virginia, and Washington state subclasses.
                                                  2
    Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 3 of 14 PageID #:320




       The first case arising from the USF Data Breach was filed on January 26, 2021, in the

United States District Court for the District of Maryland, where USF has its principal place of

business. Vinsant, et al. v. US Fertility, LLC, 8:21-cv-00225 (D. Md., filed Jan. 26, 2021). In the

following days and weeks, several other related putative class actions were filed in the District of

Maryland and other venues across the country, including California state court, the Eastern District

of New York, the Eastern District of Pennsylvania, and this Court. 2

       Except for the Doe matter before this Court, every USF Data Breach class action in the

United States has either been dismissed or consolidated into the District of Maryland proceedings.

First, on March 23, 2021, the District of Maryland consolidated the eight cases pending in that

district and assigned the consolidated action to Judge Messitte. See Order Consolidating Cases, In

re US Fertility, LLC Data Security Litigation, Master File No. 8:21-cv-299 (D. Md. Mar. 23,

2021), ECF No. 20. On April 6, 2021, after reviewing multiple applications for appointment of

counsel, Judge Messitte appointed the undersigned to act as Interim Class Counsel pursuant to

Federal Rule of Civil Procedure 23(g)(3). See Memorandum Opinion & Order, In re US Fertility,

LLC Data Security Litigation, Master File No. 8:21-cv-299 (Apr. 6, 2021), ECF No. 35. Interim

Class Counsel filed a Consolidated Class Action Complaint on June 7, 2021. In re US Fertility,

LLC Data Security Litigation, Master File No. 8:21-cv-299 (June 7, 2021), ECF No. 39.




2
 See Browne v. US Fertility, LLC et al., Case No. 2:21-CV-00367 (E.D. Pa., filed Jan. 27, 2021);
Doe et al. v. US Fertility, LLC, Case No. 8:21-cv-00248 (D. Md., filed Jan. 28, 2021); Mullinix v.
US Fertility, LLC, Case No. 8:21-cv-00409 (C.D. Cal., filed Feb. 1, 2021, removed to federal court
Mar. 3, 2021); Fadness et al. v. US Fertility, LLC, Case No. 8:21-cv-00299, (D. Md. filed Feb. 4,
2021); Churchill v. US Fertility, LLC, Case No. 8:21-cv-00370 (D. Md., filed Feb. 15, 2021);
Leonard v. US Fertility, LLC, Case No. 2:21-cv-00835-JMA-ARL (E.D.N.Y., filed Feb. 16, 2021);
Decker v. US Fertility, LLC, Case No. 8:21-cv-00404 (D. Md., filed Feb. 17, 2021); Mateson v.
US Fertility, LLC, Case No. 8:21-cv-00466 (D. Md., filed Feb. 23, 2021); Stuckey et al. v. US
Fertility, LLC, 8:21-cv-00496 (D. Md., filed Feb. 25, 2021); Forest, et al vs. US Fertility, LLC,
Case No. 8:21-cv-00646 (D. Md., filed Mar. 15, 2021).
                                                 3
    Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 4 of 14 PageID #:321




        On June 8, 2021, the Central District of California granted USF’s motion to transfer a

related putative class action, Mullinix v. US Fertility, LLC, from that district to the District of

Maryland under the first-to-file rule. Mullinix v. US Fertility, LLC, No. 8:21-cv-00409, 2021 WL

4935976 (C.D. Cal. June 8, 2021). The court noted that the Maryland case was the first to be filed

and that the parties and issues in the cases were substantially similar. Id. at *2. The court explained

that:

        With respect to the putative classes, the plaintiffs in each case seek to represent
        individuals whose personal data was compromised in the 2020 US Fertility data
        breach. Courts have held that proposed classes in class action lawsuits are
        substantially similar where both classes seek to represent at least some of the same
        individuals. Here, there is substantial, if not total, overlap.

Id. at *2 (citations omitted). And, although the claims were not identical, the California case was

“substantially similar” to the Multistate Consolidated Class Action because “the core theory for

both cases is the same, as the plaintiffs allege that US Fertility failed to adequately safeguard its

patients’ sensitive information leading to personal and financial harm to the plaintiffs and their

personal information.” Id at *3. Accordingly, the court granted the motion to transfer to “minimize

the risk of inconsistent judgments that affect the class members whose personal information was

affected by the 2020 data breach” and to “conserve judicial resources and allow discovery to

managed by a single court.” Id.

        On July 16, 2021, the Eastern District of New York also transferred Leonard v. US Fertility,

LLC, to the District of Maryland. See Order, No. 2:21-cv-00835-JMA-ARL (E.D.N.Y. July 16,

2021), ECF No. 16.3 After the transfers, the Mullinix and Leonard actions were consolidated with

the Multistate Consolidated Class Action.




3
 Browne v. US Fertility, LLC, was dismissed for lack of jurisdiction. Case No. 2:21-CV-00367,
2021 WL 2550643, at *3 (E.D. Pa. June 22, 2021).
                                                  4
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 5 of 14 PageID #:322




       On November 15, 2021, Interim Class Counsel filed the First Amended Consolidated Class

Action Complaint. In re US Fertility, LLC Data Security Litigation, Master File No. 8:21-cv-299

(Nov. 15, 2021), ECF No. 60. This Complaint raises claims on behalf of twenty named plaintiffs

and a class of similarly situated individuals arising from the August and September 2020 data

breach of US Fertility’s systems. It names as defendants US Fertility, LLC and Shady Grove

Reproductive Service Center P.C.—which are both headquartered in Maryland—and Fertility

Centers of Illinois, S.C. The Complaint brings claims on behalf of a nationwide class of “[a]ll

persons residing in the United States whose PII as defined herein, was compromised in the Data

Breach that USF announced in November 2020,” as well as various state subclasses, including an

Illinois subclass. See ECF No. 60, ¶¶ 227–22. And it alleges sixteen causes of action, including

negligence, unjust enrichment, breach of confidence, breach of contract, and violations of various

state statutes, including the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

Ill. Comp. Stat. §§ 505/1 et seq.

       The parties to the Multistate Consolidated Class Action have completed briefing on USF’s

motion to dismiss and are awaiting the Maryland district court’s decision on that motion.

       II.     The Illinois Action
       Even though the Vinsant and Doe actions were already pending in the District of Maryland,

on February 1, 2021, plaintiff Jane Doe filed a substantially similar putative class action in the

instant case on behalf of “[a]ll persons residing in the United States who were patients of USF

and/or Fertility Centers and whose Personal Information was accessed without authorization as a

result of the Data Breach,” and an Illinois subclass. (ECF No. 1). Jane Doe amended her complaint

on February 3, 2021 to allege that plaintiff was a citizen of Illinois. (ECF No. 5).

       On June 3, 2021 USF and Fertility Centers of Illinois moved to transfer the Illinois Action

to the District of Maryland. (ECF No. 34). The Court denied that motion without prejudice on

                                                  5
    Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 6 of 14 PageID #:323




Friday, June 4, 2021. (See Minute Entry, ECF No. 35). On Monday, June 7, 2021, Plaintiffs in the

Consolidated Multistate Class Action filed their Consolidated Complaint, which includes Illinois

clients and claims, and names Fertility Centers of Illinois as a defendant. 4

        As in the Multistate Consolidated Class Action, the claims in the instant action are brought

against US Fertility and the Fertility Centers of Illinois and arise out of the data breach of USF’s

computer networks in August and September 2020. And like the Multistate Consolidated Class

Action, the complaint in the instant case brings causes of action for breach of contract, unjust

enrichment, and violation of the Illinois Consumer Fraud and Deceptive Business Practices Act.

(See ECF No. 5). The Multistate Consolidated Class Action, however, also raises claims for

negligence, breach of confidence, and violations of the laws of eleven states that are not included

in the Illinois Action.5

        III.    The Court should permit intervention.
        Pursuant to Federal Rule of Civil Procedure 24(b), the Court should permit intervention for

the limited purpose of filing this Motion to Transfer. See Fed. R. Civ. P. 24(b). Rule 24(b) allows

permissive intervention where the proposed intervenors have “a claim or defense that shares with

the main action a common question of law or fact,” and intervention will not “unduly delay or

prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b). In determining

whether to grant permissive intervention, the Seventh Circuit considers the following four factors:

        (1) The length of time the intervenor knew or should have known of his interest in this
        case, (2) the prejudice to the original parties caused by the delay, (3) the resulting prejudice
        to the intervenor if the motion is denied, and (4) any unusual circumstances.


4
  The timing was coincidental. Months earlier, on April 20, 2021, Judge Messitte ordered Plaintiffs
in the Multistate Consolidated Class Action to file their Consolidated Complaint by June 7, 2021.
See Case Management Order, In re US Fertility, LLC Data Security Litigation, No. 8:21-cv-299
(D. Md.), ECF No. 37.
5
  The Multistate Consolidated Class Action does not include claims for breach of implied contract,
breach of fiduciary duty, or invasion of privacy, which are before the Court in the instant action.
                                                   6
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 7 of 14 PageID #:324




South v. Rowe, 759 F.2d 610, 612 (7th Cir.1985). These factors weigh in favor of granting the

motion to intervene here.

       First, Proposed Intervenors are filing this motion within a reasonable period of time. Before

expending judicial resources on a motion to intervene and transfer, Proposed Intervenors attempted

to determine whether there was a possibility of early class-wide resolution, see Joint Request for

Early Settlement/ADR Conference, In re US Fertility, LLC Data Security Litigation, Master File

No. 8:21-cv-299 (July 2, 2021), ECF No. 42, and the parties engaged in a mediation session on

September 28, 2021. See Plaintiffs’ Motion for Leave to File a First Amended Consolidated

Complaint and Third Stipulation to Partially Modify the Amended Case Management Order, In re

US Fertility, LLC Data Security Litigation, Master File No. 8:21-cv-299 (November 10, 2021),

ECF No. 55. When the case was not resolved in that mediation, the parties briefed USF’s motion

to dismiss, and Proposed Intervenors now bring this motion to intervene and transfer so that the

case may be fully litigated in one forum.

       Second, permitting intervention will not unduly delay or prejudice the parties’ rights

because Jane Doe is an absent class member in the Multistate Consolidated Class Action. Even if

her case is transferred and consolidated, her interests will continue to be represented as a class

member. See Askin v. Quaker Oats Co., Case No. 11CV 111, 2011 WL 5008524, at *6 (N.D. Ill.

Oct. 20, 2011) (granting permissive intervention to named plaintiffs in first-filed class action).

Defendants’ rights will also not be delayed or prejudiced, since they are already parties to the

Multistate Consolidated Class Action, which they are actively litigating and defending. Nor will

intervention unduly the delay the litigation, as both the Illinois Action and the Multistate

Consolidated Class Action are in similar procedural postures. Neither this Court nor the U.S.

District Court for the District of Maryland have ruled on USF’s motions to dismiss.



                                                 7
   Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 8 of 14 PageID #:325




       By contrast, Proposed Intervenors will be prejudiced if intervention is denied. Proposed

Intervenors clearly have “a claim or defense that shares with the main action a common question

of law or fact.” The Illinois action involves two of the same defendants and many of the same

causes of action brought on behalf of individuals whose PII and sensitive medical information was

exfiltrated during the August and September 2020 data breach of USF’s computer networks. And

the class definitions for the putative nationwide class and the Illinois state subclass are identical.

Denying intervention here will eliminate Proposed Intervenors’ opportunity to argue that the

Illinois action, which involves substantially similar issues as the Multistate Consolidated Class

Action, and in which an adverse decision may affect the putative class members’ rights, should be

litigated in the same forum as the first-filed Maryland case and the Consolidated Class Action.

       Finally, there are no unusual circumstances present that weigh against permissive

intervention.

       In sum, the permissive intervention requested here is appropriate under applicable

standards. And it is necessary to determine whether the Court should apply the well-established

first-to-file rule to avoid judicial inefficiency and potentially contradictory rulings resulting from

parallel and near-identical class actions proceeding in two different districts. Accordingly, the

Court should grant this motion and permit intervention.

       IV.      The Court should grant proposed intervenor’s motion to transfer pursuant to
                the first-to-file rule.
       Courts in the Seventh Circuit have long recognized an interest in avoiding duplicative

litigation and have granted motions to transfer cases raising substantially similar claims to districts

where the action was first filed. “Because ‘duplications and possible conflicts between the two

district courts could occur’ . . . the action ‘should not be split between two districts.’” NDX

Advisors, Inc. v. Balistreri, Case No. 10 C 7019, 2011 WL 6950948, *5 (N.D. Ill. 2011) (quoting


                                                  8
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 9 of 14 PageID #:326




F.T.C. v. MacArthur, 532 F.2d 1135, 1143 (7th Cir. 1976)). “Pursuant to its inherent power, a court

may dismiss the second-filed action to avoid duplicative litigation. In the alternative, a court may

transfer the case under § 1404(a) so that it may be consolidated with the first-filed action.”

Barrington Group, Ltd. v. Genesys Software Systems, Inc., 239 F. Supp. 2d 870, 874 (E.D. Wis.

2003) (citations omitted). “Judicial economy is a particularly important concern when two actions

involving the same parties and issues are pending in different districts.” Id. at 873.

       In general, “[t]here is a rebuttable presumption that the first-filed action should go forward

and the second-filed action should be abated.” Household Intern., Inc. v. Westchester Fire Ins. Co.,

Case No. 02 C 3566, 2002 WL 31307426, *1 (N.D. Ill. 2002); see also Humphrey, 2014 WL

3511498, at *2 (“[T]he “first-filed” doctrine complements § 1404 and other procedural rules by

stating that when faced with two identical or nearly identical cases, ‘the first case should be

allowed to proceed and the second should be abated.’ (quoting Asset Allocation & Mgmt. Co., 892

F.2d at 573)). “[T]he apparent trend among Courts in this District is to grant transfer motions under

the key geographic factors present here: the defendant is located in the transferee district, two

similar class actions are pending in different federal districts and one of the class actions is

pending in the transferee district.” Rosen v. Spirit Airlines, Inc., 152 F. Supp. 3d 1055, 1063–64

(N.D. Ill. 2015).

       In determining whether a class action is duplicative under the first-to-file rule, courts

consider whether the putative classes alleged in the second-filed action are identical, not whether

the named plaintiffs are the same. Humphrey, 2014 WL 3511498, at *3; Askin, 2012 WL 517491,

at *4 (“True, the named plaintiffs are not the same, but recent cases from this and other districts

make clear that the class members are the proper focus of this inquiry.”).




                                                  9
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 10 of 14 PageID #:327




        The Seventh Circuit has made clear that courts may apply the first-to-file rule as long as

the “principles that govern requests for transfer do not indicate otherwise.” Humphrey, 2014 WL

3511498, at *3 (quoting Research Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d

973, 980 (7th Cir. 2010)). The principles “that govern requests for transfer” are set out in 28 U.S.C.

§ 1404(a)—convenience and the interest of justice. In measuring convenience, courts consider “(1)

the plaintiff’s choice of forum; (2) the situs of the material events; (3) the relative ease of access

to sources of proof; (4) the convenience of the witnesses; and (5) the convenience of the parties.”

Id. In weighing the interest of justice, “[c]ourts consider factors such as the likelihood of a speedy

trial, each court’s familiarity with the applicable law, the desirability of resolving controversies in

each locale, and the relationship of each community to the controversy.” Id. at *4.

        Here, there is no question that the named representatives in the Multistate Consolidated

Class Action and Jane Doe seek to bring claims on behalf of the same putative nationwide and

Illinois classes against the same defendants. And there is no question that the two actions arise out

of an identical factual predicate—the August and September 2020 breach of USF’s computer

network. That the two actions do not raise precisely the same causes of action does nothing to

undermine this substantial overlap in issues, claims, and defenses. See, e.g., Aland v. Kempthorne,

Case No. 07-CV-4358, 2007 WL 4365340, *5 (N.D. Ill. 2007) (explaining, in granting motion to

transfer, that although “[n]ot all of the claims in both cases are identical, . . . the amount of overlap

is significant and the chance of conflicting orders is real.” ); Preci-Dip, SA v. Tri-Star Electronics

Intern., Inc., Case No. 08 C 4192, 2008 WL 5142401, *2 (N.D. Ill. 2008) (“[T]he claims in the

two suits need not be identical to satisfy the ‘same issues’ requirement of the first-to-file doctrine.

. . .[I]t is sufficient if the issues ‘substantial[ly] overlap.’” (citations omitted)). This is therefore

exactly the type of situation in which the first-to-file rule applies.



                                                   10
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 11 of 14 PageID #:328




       Moreover, the § 1404(a) factors do not counsel against transfer. Although this Court gave

great weight to “Plaintiff’s strong interest in proceeding in her home forum” in denying USF’s

earlier motion to transfer without prejudice (Minute Entry, ECF No. 35), “when an individual

brings a derivative suit or represents a class, the named plaintiff’s choice of forum is given less

weight.” Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir. 1987); see also Nicholas v. Conseco Life

Ins. Co., 12 C 0845, 2012 WL 1831509, *4 (N.D. Ill. 2012) (“[I]n nationwide class action cases

plaintiff’s choice of forum is entitled to little weight.”); Banks v. Cent. Refrigerated Servs. Inc.,

No. 2:15-CV-105, 2016 WL 8671568, at *2 (N.D. Ind. Apr. 29, 2016) (“[I]n class action suits,

such as this case, a plaintiff’s choice of forum is entitled to less deference because any member of

the ‘class who subsequently chooses to appear might be faced with similar inconveniences,

depending on where the action proceeds.’”(citation omitted)); George v. Kraft Foods Global, Inc.,

2007 WL 853998, *5 (S.D. Ill. 2007) (same); Humphrey, 2014 WL 3511498, at *3 (same). Nor is

Illinois more convenient than the District of Maryland. The data breach at issue did not involve

the actual fertility services provided to class members in Illinois, but rather a malware attack on

US Fertility’s computer systems. US Fertility’s headquarters are in Maryland.

       With respect to the interests of justice, they weigh toward having the case resolved in one

forum—the one where the first action was filed, where the defendant resides, and where several

putative actions have already been consolidated and the court has already appointed Interim Class

Counsel—rather than duplicated in two districts. This factor deserves heightened consideration in

data breach litigation. Nearly all data breach class action settlements include terms that require the

defendant to mitigate cybersecurity deficiencies that led to the data breach. Permitting parallel

class actions to proceed, therefore, presents a heightened risk that the parties would demand




                                                 11
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 12 of 14 PageID #:329




contradictory or conflicting solutions to technical problems. And Maryland has a strong interest in

regulating the corporations that are headquartered in the state.

        As the Central District of California found in transferring a related action pending before

it to the District of Maryland, such transfer will preserve judicial resources and protect the interests

of putative class members. Mullinix v. US Fertility, LLC, No. 8:21-cv-00409, 2021 WL 4935976,

at *3 (C.D. Cal. June 8, 2021). This Court should follow suit.

        V.      Conclusion

        For all the reasons discussed above, the Proposed Intervenors respectfully request that the

Court grant this motion to intervene and grant their motion to transfer the Illinois Action pursuant

to the first-to-file rule to the U.S. District Court for the District of Maryland.


Dated: January 26, 2022                         Respectfully submitted,

                                                /s/ Hassan A Zavareei
                                                Hassan A. Zavareei (Bar No. 456161)
                                                TYCKO & ZAVAREEI LLP
                                                1828 L Street NW Suite 1000
                                                Washington, DC 20036
                                                (202) 973-0900
                                                Fax: (202) 973-0950
                                                hzavareei@tzlegal.com

                                                John A. Yanchunis (Bar No. 0324681)
                                                MORGAN & MORGAN
                                                201 N. Franklin Street, 7th Floor
                                                Tampa, FL 33602
                                                Telephone: (813) 233-5505
                                                jyanchunis@forthepeople.com

                                                Gayle M. Blatt*
                                                CASEY GERRY SCHENK
                                                FRANCAVILLA BLATT &
                                                PENFIELD, LLP
                                                110 Laurel Street
                                                San Diego, CA 92101
                                                T: (619) 238-1811
                                                F: (619) 544-9232
                                                gmb@cglaw.com
                                                  12
Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 13 of 14 PageID #:330




                                    David M. Berger*
                                    GIBBS LAW GROUP LLP
                                    505 14th Street, Suite 1110
                                    Oakland, California 94612
                                    Telephone: (510) 350-9700
                                    Facsimile: (510) 350-9701
                                    dmb@classlawgroup.com

                                    Interim Co-Lead Class Counsel

                                    *pro hac vice applications forthcoming




                                      13
  Case: 1:21-cv-00579 Document #: 62-1 Filed: 01/26/22 Page 14 of 14 PageID #:331



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of January 2022, a copy of the foregoing was

filed with the Clerk of the Court via the Court’s CM/ECF system, which will automatically send

email notification of such filing to the registered attorneys of record.


                                               /s/ Hassan A. Zavareei
                                               Hassan A. Zavareei




                                                  14
